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Professional Psychology Groups urge the U.S. Department of Education to Protect
LGBTQ+ Students at Religious Colleges and Universities

Our signing professional psychological groups affirm the importance of religious diversity and
freedom of religious expression. Further, our groups recognize that religion and spirituality (R/S)
are important to the lives of thousands of lesbian, gay, bisexual, transgender, and queer
(LGBTQ+) people.

While recognizing the potential benefits of religious faith and participation, our groups echo the
American Psychological Association’s (APA) statement that “prejudice based on or derived from
religion continues to result in various forms of harmful discrimination,” as stated in the APA
Resolution on Religious, Religion-Based and/or Religion-Derived Prejudice1. Too many in the
LGBTQ+ community are painfully aware of the ways in which they have been excluded from
religious participation, condemned for their identities, and watched religion be used to oppose
equity and civil rights for LGBTQ+ people all over the world – which have caused many harms
to the community2,3.

Decades of psychological research has consistently found that discrimination toward LGBTQ+
people is harmful, and can result in increased rates of suicide, mental health symptoms,
substance abuse, isolation, and lower academic achievement in school settings4. We also know
that policies and practices that promote equity and safety for LGBTQ+ people are associated
with mental health benefits, improved wellbeing, and better academic outcomes4.

LGBTQ+ students and employees at non-affirming faith-based colleges and universities
(NFBCUs) are discriminated against in admission, retention, and employment due to a
combination of restrictive policies, stigma, absence of formal social support groups, and lack of
legal protections5. Recent studies and reports suggest that LGBTQ+ students at NFBCUs may
experience higher rates of bullying and harassment than their heterosexual and cisgender peers6,
and develop mental health symptoms because of psychological distress and isolation6,7.

Further, several studies show evidence that some LGBTQ+ students have been referred for
sexual orientation/gender identity change efforts at NFBCUs6, 7, 8. APA’s Resolution on Sexual
This is an official statement of the Divisions, Societies, and Associations listed above, and does not represent the
position of the American Psychological Association or any of its other Divisions or subunits.


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Orientation Change Efforts9 (SOCE) states that “APA opposes SOCE because such efforts put
individuals at significant risk of harm and encourage individuals, families, health professionals,
and organizations to avoid SOCE.” Similarly, the APA Resolution on Gender Identity Change
Efforts (GICE) states that “explicit attempts to change individuals’ gender according to
cisnormative pressures […] cause harm by reinforcing anti-transgender and anti-gender
nonbinary stigma and discrimination”10. Our groups hold strong concerns that some NFBCUs
have policies that attach disciplinary threats to transgender and non-binary students who
transition11, thus discouraging students from accessing gender-affirming medical and
psychological services. These gender-affirming clinical services have been shown to be
lifesaving for many transgender and non-binary people10.

Unlike LGBTQ+ people at non-religious universities, LGBTQ+ students and employees at
NFBCUs are left with no legal protections due to exemptions in current Title IX legislation,
which are granted by the U.S. Department of Education (ED)6. Consistent with APA’s
Resolution on Opposing Discriminatory Laws, Policies, and Practices Aimed at LGBTQ+
Persons12, our groups “oppose the enactment of laws, policies, and procedures that exempt any
group from following antidiscrimination laws designed to protect any group”, and call upon
policy makers and courts to recognize religious freedom without ignoring harmful practices and
policies directed at LGBTQ+ people. Our groups also raise this concern given that NFBCUs are
indirectly funded by the U.S. government through student loans, research grants, and other
federal dollars; thus, taxpayers are, even if unwittingly, funding religiously-based discrimination.

In response, our groups call on ED to investigate allegations of harm toward LGBTQ+ students
at NFCBUs, and to take appropriate actions to protect LGBTQ+ students.

Signatories:
Society for the Psychology of Sexual Orientation and Gender Diversity (APA Division 44)
Society for the Teaching of Psychology (APA Division 2)
Society for the Psychological Study of Social Issues (APA Division 9)
Society of Counseling Psychology (APA Division 17) Section on Lesbian, Gay, Bisexual, and
       Transgender issues
Psychologists in Public Service (APA Division 18)
Society for Military Psychology (APA Division 19)
Society for Community Research and Action (APA Division 27)
Society for Humanistic Psychology (APA Division 32)
Society for the Psychology of Women (APA Division 35)
Society for Child and Family Policy and Practice (APA Division 37)
Society for Psychoanalysis and Psychoanalytic Psychology (APA Division 39)
American Psychology-Law Society (APA Division 41)
Society of Group Psychology and Group Psychotherapy (APA Division 49)
Society for the Psychological Study of Men & Masculinities (APA Division 51)
Society for Pediatric Psychology (APA Division 54)
Asian American Psychological Association (AAPA)
National Latinx Psychological Association (NLPA)/Orgullo Latinx: Sexual Orientation and
       Gender Diversity special interest group




EXHIBIT K                                                                                            2
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EXHIBIT K                                                                                                    3
